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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:97CR00243-02 JLH

DANIEL LEWIS LEE                                                                      DEFENDANT

                                           JUDGMENT

       Pursuant to the Memorandum Opinion entered separately today, Daniel Lewis Lee’s motion

for an indicative ruling and motion for relief pursuant to Fed. R. Civ. P. 60(b) are denied. Documents

#1230 and #1231.

       IT IS SO ORDERED this 18th day of March, 2014.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
